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     Additional parties and counsel listed on
10
     signature pages
11
                                  UNITED STATES DISTRICT COURT
12                              NORTHERN DISTRICT OF CALIFORNIA
                                       OAKLAND DIVISION
13

14   IN RE: SOCIAL MEDIA ADOLESCENT                        MDL No. 3047
     ADDICTION/PERSONAL INJURY
15                                                         Case No. 4:22-md-03047-YGR-PHK
     PRODUCTS LIABILITY LITIGATION
16
     THIS DOCUMENT RELATES TO:                             Honorable Yvonne Gonzalez Rogers
17
     ALL ACTIONS                                           DEFENDANTS’ STATEMENT OF
18                                                         RECENT DECISION

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           DEFENDANTS’ STATEMENT OF RECENT DECISION — CASE NO. 4:22-MD-03047-YGR-PHK
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1           Pursuant to Civil L.R. 7–3(d)(2), Defendants submit a copy of the judicial opinion issued in

2    Wozniak v. YouTube, LLC, No. H050042 (Cal. Ct. App. Mar. 15, 2024), which has been certified for

3    publication. The opinion is relevant to Defendants’ Joint Motion to Dismiss Pursuant to Rule 12(b)(6)

4    Plaintiffs’ Non-Priority Claims (Counts 5, 12, 14, 16–18) (Dkt. 516), and to Meta’s Motion to Dismiss

5    the Multistate Attorneys General Complaint; Florida Attorney General Complaint; and Personal Injury

6    Plaintiffs’ Consumer Protection and Misrepresentation Claims (Dkt. 517). The opinion was issued on

7    March 15, 2024, after Defendants’ replies in support of the aforementioned motions were filed on

8    February 26, 2024 and March 1, 2024, respectively.

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1    Dated: March 19, 2024                    Respectfully submitted,

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       DEFENDANTS’ STATEMENT OF RECENT DECISION — CASE NO. 4:22-MD-03047-YGR-PHK
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       DEFENDANTS’ STATEMENT OF RECENT DECISION — CASE NO. 4:22-MD-03047-YGR-PHK
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1                                              ATTESTATION

2           I, Phyllis A. Jones, hereby attest, pursuant to N.D. Cal. Civil L.R. 5‒1, that the concurrence to

3    the filing of this document has been obtained from each signatory hereto.

4

5     DATED: March 19, 2024                          By:    /s/ Phyllis A. Jones
                                                             Phyllis A. Jones
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           DEFENDANTS’ STATEMENT OF RECENT DECISION — CASE NO. 4:22-MD-03047-YGR-PHK
